Filed 04/13/16                                         Case 15-14228                                                         Doc 93


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES


    Case Title :          Oscar Gutierrez                                          Case No : 15−14228 − B − 13
                                                                                      Date : 04/13/2016
                                                                                      Time : 01:30

    Matter :              [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                          $176) (eFilingID: 5697015) (msam)


    Judge :               Rene Lastreto II                             Courtroom Deputy : Jennifer Dauer
    Department :          B                                                    Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


    HEARING CONTINUED TO: 5/25/16 at 01:30 PM

    The hearing was continued for the following reason(s):
    Based on the status report filed by the plaintiff in the related adversary proceeding, and to be heard with the status
    conference.

    The court adopts the previous U.S.C. § 362(e) findings.

    The court will issue a civil minute order.
